EXHIBIT 3
                                                                                       Andrew J. Scavotto
                                                                                                     PARTNER
                                                                                           DIRECT: 314.719.3048
                                                                                           OFFICE: 314.863.0800

                                                                                     andrew.scavotto@stinson.com


April 13, 2023
VIA FEDEX

SA Hospital Real Estate Holdings, LLC
Jeffrey Alholm
Lawrence Feigen
3933 South Broadway
St. Louis, MO 63118

With copies to:

Frankel, Rubin, Klein, Payne & Pudlowski, P.C.
231 South Bemiston Avenue, Suite 1111
Clayton, MO 63105
Attn: Mayer Klein

Frank Saidara
10601 Ashton Avenue, Suite 101
Los Angeles, CA 90024

Re:      Notice of Default and Reservation of Rights
All:

We write regarding the Ground Lease entered into between Twain GL XXV, LLC
(“Landlord”), and SA Hospital Real Estate Holdings, LLC (“Tenant”), dated as of
December 29, 2021 (as amended or otherwise modified from time to time, the “Ground
Lease”), along with the related "Completion and Rent Payment Guaranty" executed by
Jeffrey Ahlholm and Lawrence Feigen (the "Guaranty"). A copy of the Guaranty is
enclosed for reference.1

This letter provides written notice that Tenant is in default under Section 11.03(a) of the
Ground Lease because Tenant failed to make rent payments due in January and April,
2023. As of April 6, 2023 the amount of $747,993.95 is due and owing, consisting of base
rent, late charges, and additional rent, along with additional per diem rent that has
accrued, and will continue to accrue. Pursuant to Section 11.04 of the Lease, a statement


1 Unless otherwise defined in this letter, capitalized terms used herein and not otherwise
defined shall have the meanings ascribed to such terms in the Ground Lease and/or
Guaranty.

                                7700 Forsyth Blvd, Suite 1100, St. Louis, MO 63105



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SA Hospital Real Estate Holdings, LLC
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of all amounts due is enclosed, showing the nature and calculation of the past due
payments.

Landlord hereby demands that Tenant pay all amounts due and owing within five (5) days
of the date of this notice. If Landlord does not receive full payment, then it will take legal
action against Tenant and Messrs. Alholm and Feigen (as guarantors) and pursue all
available remedies.

In addition, Landlord intends to pursue all available remedies for Tenant's numerous
other defaults under the Lease, as identified in letter dated October 3, 2022, which is
enclosed and incorporated herein by reference.

Overall, Landlord is concerned—not only about the non-payment and other defaults, but
about the lack of communication and transparency regarding Tenant's operations and
plans going forward. Our understanding is that Tenant has made several general
statements and representations regarding a potential acquisition, or repurchase of its
leasehold interest and/or hospital operation, but—despite multiple requests from
Landlord—has refused to verify or provide any details about those developments. Please
provide us with details regarding those circumstances immediately, including documents
sufficient to identify the prospective purchaser(s), including any letter(s) of intent, term
sheets, proposed agreements, or other communications regarding those circumstances, or
otherwise substantiating Tenant's representations.

Otherwise, Landlord expressly reserves any and all of the rights, powers, privileges, and
remedies available to Landlord under the Ground Lease and applicable law, in each case,
that have arisen or may arise as a result of the Specified Default. Landlord also reserves its
rights and remedies with respect to any other agreements under which the occurrence of
the Specified Default automatically becomes a default under, or results in the maturity or
acceleration of, such agreement. No delay by Landlord in acting shall constitute a
requirement to make additional disbursements under the Ground Lease or a waiver of the
Specified Default or Landlord’s rights in connection therewith. The occurrence and
continuation of the Specified Default may result in Landlord incurring attorney’s fees and
other costs of collection for which Tenant may be liable.

Be advised that the acceptance by Landlord of any further payments to the extent they do
not represent timely or full payment of all amounts then due under the Ground Lease,
including all accrued and unpaid Rent, late fees, attorneys’ fees, or other reimbursable
expenses, shall not constitute a waiver by Landlord of any default or breach which may
exist under the Ground Lease, including without limitation, the Specified Default.

At no time shall any prior or subsequent course of conduct by Tenant or Landlord directly
or indirectly limit, impair, or otherwise adversely affect any of Landlord’s rights, interests,
or remedies in connection with the Ground Lease or obligate Landlord to agree to, or to
negotiate or consider an agreement to, any waiver of any obligation, default or event of



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SA Hospital Real Estate Holdings, LLC
April 13, 2023
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default by Tenant under the Ground Lease or any amendment to any term or condition of
the Ground Lease.

If you have any questions concerning this notice, please do not hesitate to contact me.
Thank you for your attention to this matter.


Sincerely,
Stinson LLP




Andrew J. Scavotto

AJS:sje

Enclosures (2)




CORE/3002847.0320/181380255.1
                                               GUARANTY

                          COMPLETION AND RENT PAYMENT GUARANTY

IN CONSIDERATION of and as an inducement for the granting, execution and delivery by Twain GL
XXV, LLC, a Missouri limited liability company (“Landlord”), of the Ground Lease (as the same may be
amended, modified or restated from time to time, the “Ground Lease”) dated December 29, 2021, with SA
Hospital Real Estate Holdings LLC, a Delaware limited liability company, as tenant (“Tenant”), relating to
the leasing, improvement, development and use of approximately 7.148 acres of real property located in the
city of St. Louis, Missouri, as more particularly described in the Ground Lease (collectively, the “Premises”),
the undersigned, Jeffrey Ahlholm, a California resident, Lawrence Feigen, a California resident
(collectively, the “Individual Guarantors”), and SA Hospital Acquisition Group, LLC, a Delaware limited
liability company (“SA Hospital” and together with the Individual Guarantors, collectively, the
“Guarantor”), enter into this Completion and Rent Payment Guaranty (this “Guaranty”). Guarantor
hereby covenants and agrees as follows:

         1.      Guarantor, jointly and severally with any other undersigned guarantors, unconditionally and
irrevocably guarantees to Landlord the full, prompt and unconditional (a) performance of and observance
by Tenant of each and every obligation, term, covenant, agreement and condition to be performed or
observed by Tenant pursuant to the Lease, (b) Completion (as defined in the Ground Lease) of the
Improvements (as defined in the Ground Lease) in accordance with the terms and provisions of the Ground
Lease and in compliance with all applicable laws, together with any restoration of the Improvements
pursuant to Section 7.03 of the Ground Lease, (c) the indemnity obligations of Tenant contained in the
Lease, and (d) any and all costs of collecting such sums or enforcing Landlord’s rights under the Ground
Lease or this Guaranty (collectively, the “Obligations”); provided, however, the Obligations contained in
clauses (a) and (b) of this Section 1 shall terminate with respect to SA Hospital upon satisfaction of the
Termination Conditions; provided, further, the Obligations contained in this Section 1 shall terminate with
respect to the Individual Guarantors upon satisfaction of the Termination Conditions. For purposes of this
guaranty, the Termination Conditions are the following conditions: (i) Tenant or Guarantor obtaining a loan
or loans from Bank Popular consistent with that certain term sheet from Bank Popular for Guarantor dated
November 22, 2021, (ii) Tenant's and Subtenant's consolidated Debt Service Coverage Ratio, tested by
Landlord on a trailing six month basis, exceeds 1.40:1.00 when dividing (1) the EBITDAR for such trailing
six months by (2) the anticipated next six months of Base Rent, Supplemental Rent, and principal and
interest expense payments, all as substantiated to Landlord in Landlord's reasonable judgment, and (iii)
Completion of the Work.

         2.       Guarantor hereby further covenants and agrees to, and with, Landlord that if an event of
default under the Lease beyond the expiration of any applicable notice, grace or cure period (“Event of
Default”) shall at any time be made by Tenant in the payment of any “Construction Costs” (as defined
below), the payment of Rent, or if Tenant should default in the performance and observance of any of the
Obligations contained in the Ground Lease, Guarantor shall, and will, forthwith pay such Construction
Costs, all such Rent and and/or any enforcement of this Guaranty. The term “Construction Costs” means
all hard and soft costs of construction or restoration of the Improvements together with all compensatory
damages (excluding consequential, special and punitive damages of any kind), late charges, interest, actual
out of pocket costs or fees, reasonable attorneys’ fees and actual out of pocket expenses incurred or suffered
by Landlord as a result of non-payment of the Construction Costs. Without limiting the generality of the
foregoing, Guarantor agrees that, for purposes of this Guaranty, the Construction Costs shall be equal to
either of the following (at Landlord’s sole option): (i) the aggregate amount of such Construction Costs
actually incurred by Landlord from time to time to and including the date on which completion of the
Improvements in accordance with the terms of the Ground Lease occurs, together with interest on such
amount from the date incurred until the date repaid, at the highest rate of interest permissible under

Guaranty
Broadway South Hospital
#171277792
applicable law, or (ii) (whether or not Landlord completes or intends to complete the Improvements) the
estimated amount of such Construction Costs as determined by, at Landlord’s sole option, either (A) a court
of competent jurisdiction or (B) a construction consultant reasonably acceptable to Landlord and Tenant at
any time after an Event of Default by Tenant under the Ground Lease has occurred, in each case less the
value of any property, estate or funds surrendered or paid by Tenant to Landlord. Guarantor agrees that
any amount estimated by the construction consultant as aforesaid, and any determination by the construction
consultant with respect to industry practices, shall be conclusive for purposes of determining Guarantor’s
liability hereunder, provided that the construction consultant has made such estimate or determination
acting reasonably and in good faith.

        3.      Guarantor’s obligations under this Guaranty shall be binding on Guarantor’s successors
and assigns. All references in this Guaranty (a) to Landlord and Tenant shall include their successors and
assigns; and (b) to Tenant, shall include any successors-in-interest to Tenant (whether or not directly
succeeding Tenant) by reason of an Event of Reorganization (as defined in Paragraph 8 below).

        4.       The provisions of the Ground Lease may be changed by agreement between Landlord and
Tenant without the consent of or notice to Guarantor. The provisions of the Ground Lease may be changed
by agreement between Landlord and any permitted assignee of Tenant or any subsequent assignee without
the consent of or notice to Guarantor. The Ground Lease may be assigned by Landlord or Tenant, and the
Premises, or a portion thereof, may be sublet by Tenant, all in accordance with the provisions of the Ground
Lease, without the consent of or notice to Guarantor. This Guaranty shall guarantee the Obligations and
payment of Rent so assigned.

        5.       This Guaranty and Guarantor’s obligations hereunder shall continue and remain in full
force and effect notwithstanding Landlord’s failure or delay from time to time to enforce any of its rights
or remedies under the Ground Lease or this Guaranty.

        6.       If there is an Event of Default by Tenant under the Ground Lease relating to the
Obligations, including, without limitation, the payment of Rent, Landlord may proceed against either
Guarantor or Tenant, or both, or Landlord may enforce against Guarantor or Tenant any rights that Landlord
has under the Ground Lease relating to the Obligations, in equity or under applicable law. If the Ground
Lease terminates and Landlord has any rights against Tenant after termination relating to the Obligations,
Landlord may enforce those rights against Guarantor, without giving previous notice to Tenant or
Guarantor. Guarantor hereby agrees that no notice of default need be given to Guarantor, it being
specifically agreed and understood that this Guaranty of the undersigned is a continuing guarantee under
which Landlord may proceed forthwith and immediately against Tenant or against Guarantor following any
breach or default by Tenant.

         7.     Guarantor hereby expressly and knowingly waives all benefits and defenses under
applicable law with respect to the enforcement of this Guaranty, including without limitation: (a) the right
to require Landlord to proceed against Tenant, proceed against or exhaust any security that Landlord holds
from Tenant, or pursue any other remedy in Landlord’s power; (b) any defense to its obligations hereunder
based on the termination of Tenant’s liability; (c) all presentments, demands for performance, notices of
nonperformance, protests, notices of protest, notices of dishonor, and notices of acceptance of this
Guaranty; and (d) all notices of the existence, creation, or incurring of new or additional obligations.
Landlord shall have the right to enforce this Guaranty regardless of the acceptance of additional security
from Tenant and regardless of the release or discharge of Tenant by Landlord or by others, or by operation
of any law.

       8.       The obligations of Guarantor under this Guaranty shall remain in full force and effect and
Guarantor shall not be discharged by any of the following events with respect to Tenant or Guarantor:

Guaranty
Broadway South Hospital
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(a) insolvency, bankruptcy, reorganization arrangement, adjustment, composition, assignment for the
benefit of creditors, liquidation, winding up or dissolution; (b) any merger, acquisition, consolidation or
change in entity structure, or any sale, lease, transfer, or other disposition of any entity’s assets, or any sale
or other transfer of interests in the entity (each, an “Event of Reorganization”); or (c) any sale, exchange,
assignment, hypothecation or other transfer, in whole or in part, of Landlord’s interest in the Premises or
the Ground Lease. Nothing in this Paragraph 8 shall diminish the effect of any subsequent written
agreement between Guarantor and Landlord.

         9.      Guarantor hereby represents and warrants that it has executed this Guaranty based solely
on its independent investigation of Tenant’s financial condition. Guarantor hereby assumes responsibility
for keeping informed of Tenant’s financial condition and all other circumstances affecting Tenant’s
performance of its obligations under the Ground Lease. Absent a written request for such information by
Guarantor, Landlord shall have no duty to advise Guarantor of any information known to it regarding such
financial condition or circumstances.

         10.      Guarantor further agrees that it may be joined in any action against Tenant in connection
with the said obligations of Tenant and recovery may be had against Guarantor in any such action.
Guarantor hereby expressly waives all benefits and defenses under applicable law to the fullest extent
permitted by applicable Law. Guarantor agrees not to exercise any of its rights of subrogation or
reimbursement against Tenant until after all amounts due and owing under the Ground Lease have been
fully paid. If the foregoing waiver is determined by a court of competent jurisdiction to be void or voidable,
Guarantor agrees to subordinate its rights of subrogation and reimbursement against Tenant to Landlord’s
rights against Tenant under the Ground Lease.

        11.      Guarantor hereby represents and warrants that, as of the date of the execution of this
Guaranty by Guarantor, there is no action or proceeding pending or, to Guarantor’s knowledge after due
inquiry, threatened against Guarantor before any court or administrative agency which could adversely
affect Guarantor’s financial condition in a way which would jeopardize Guarantor’s ability to satisfy its
obligations under this Guaranty. The foregoing representation and warranty shall survive the execution and
delivery of this Guaranty and is expressly made for the benefit and reliance of Landlord, and Landlord’s
partners, members, trustees, lenders, representatives, successors and assigns.

         12.     This Guaranty shall be one of payment and performance and not of collection. If there is
more than one undersigned Guarantor, the term Guarantor, as used herein, shall include and be binding
upon each and every one of the undersigned, and each of the undersigned shall be jointly and severally
liable hereunder. If there is more than one undersigned Guarantor, Landlord shall have the right to join one
or all of them in any proceeding or to proceed against them in any order.

        13.     Guarantor shall indemnify, defend (with counsel acceptable to Landlord), protect and hold
harmless Landlord, and Landlord’s partners, members, trustees, lenders, representatives, successors and
assigns from and against all liabilities, losses, claims, demands, judgments, penalties, damages, expenses
and costs (including all attorneys’ fees and costs to enforce any of the terms of this Guaranty or otherwise
awarded hereunder) arising from or in any way related to any failure by Tenant or Guarantor to pay the
Rent, Construction Costs, or to fully, faithfully and timely perform the Obligations.

         14.     The term “Ground Lease” whenever used in this Guaranty shall be deemed, and
interpreted so as, to also include any renewals or extensions of the initial or renewal term(s), as the case
may be, and any holdover periods thereunder.

        15.      All demands, notices and other communications under or pursuant to this Guaranty shall
be in writing, and shall be deemed to have been duly given when personally delivered, or three (3) days

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after the date deposited in the United States Postal Service, first-class postage prepaid, certified with return
receipt requested, or the delivery date designated for overnight courier services (e.g. Federal Express), or
the date delivery is refused, addressed to the party at the address set forth below, or at such other address
as may be hereafter designated in writing by either party to the other.

          Landlord:
          Twain GL XXV, LLC
          2200 Washington Avenue
          Saint Louis, MO 63103
          Attention: General Counsel

          with a copy of notices to:

          Stinson LLP
          7700 Forsyth Blvd, Suite 1100
          St. Louis, MO 63105
          Attention: Robert Faulkner

          Guarantors:

          Jeffrey Ahlholm
          Lawrence Feigen
          SA Hospital Acquisition Group, LLC
          3933 South Broadway
          St. Louis Missouri 63118
          Attention: Jeffrey Ahlholm and Lawrence Feigen

          with a copies of notices to:

          Frank Saidara
          10601 Ashton Ave, Suite 101
          Los Angeles, CA 90024

        16.      Guarantor hereby represents and warrants that it is duly authorized to execute and deliver
this Guaranty; that this Guaranty is binding on Guarantor in accordance with its terms; that the terms and
provisions of this Guaranty are intended to be valid and enforceable in accordance with its terms; and that
the signatory to this Guaranty is duly authorized to bind Guarantor and execute this Guaranty on
Guarantor’s behalf.

        17.      Landlord may assign this Guaranty in conjunction with the assignment of all or any portion
of Landlord’s interest in the Ground Lease, without the necessity of obtaining Guarantor’s consent thereto,
and any such assignment shall not affect, or otherwise relieve, Guarantor from its obligations or liability
hereunder. Guarantor may not assign or otherwise delegate any of its rights or obligations hereunder
without first obtaining Landlord’s written consent thereto, which consent may be withheld in Landlord’s
sole discretion. The terms and provisions of this Guaranty shall inure to the benefit of Landlord and
Landlord’s partners, members, trustees, lenders, representatives, and all of their respective successors and
assigns. Guarantor hereby acknowledges and agrees that Landlord is relying upon Guarantor’s covenants,
representations and warranties contained in this Guaranty in entering into the Ground Lease with Tenant,
and Guarantor hereby undertakes to perform its obligations hereunder promptly and in good faith.



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         18.     If all or any portion of the obligations guaranteed hereunder are paid or performed and all
or any part of such payment or performance is avoided or recovered, directly or indirectly, from Landlord
as a preference, fraudulent transfer or otherwise, then Guarantor’s obligations hereunder shall continue and
remain in full force and effect as to any such avoided or recovered payment or performance.

        19.     All representations and warranties made by Guarantor herein or made in writing pursuant
to this Guaranty are intended to and shall remain true and correct as of the time of execution of this
Guaranty, shall be deemed to be material, shall survive the execution and delivery of this Guaranty, and
shall be relied upon by Landlord and Landlord’s partners, members, trustees, lenders, representatives,
successors and assigns.

         20.      This Guaranty shall be enforced, governed by and construed in accordance with the laws
of the State of Missouri, irrespective of its conflict of law rules. In addition, Guarantor hereby consents to
the jurisdiction of any state or federal court located within the County in which the Premises are located
and irrevocably agrees that all actions or proceedings arising out of or relating to the Ground Lease and this
Guaranty shall be litigated in such courts. Guarantor accepts generally and unconditionally, the
nonexclusive jurisdiction of the aforesaid courts and waives any defense of forum non conveniens, and
irrevocably agrees to be bound by any judgment rendered thereby in connection with this Guaranty. This
Guaranty shall be subject to all valid applicable laws and official orders, rules and regulations, and, in the
event this Guaranty or any portion thereof is found to be inconsistent with or contrary to any such laws or
official orders, rules or regulations, the latter shall be deemed to control, and this Guaranty shall be regarded
as modified and shall continue in full force and effect; provided, however, that nothing herein contained
shall be construed as a waiver of any right to question or contest any such law, order, rule or regulation in
any forum having jurisdiction in the Premises.

         21.     This Guaranty and any exhibits hereto constitute the entire agreement between the parties
with respect to the matters covered herein and supersedes all prior agreements and understandings between
the parties hereto relating to the subject matter hereof.

         22.     In the event Guarantor fails to perform any of its obligations under this Guaranty or in the
event a dispute arises concerning the meaning or interpretation of any provision of this Guaranty, the
defaulting party or the party not prevailing in such dispute, as the case may be, shall pay any and all costs
and expenses incurred by the other party in enforcing or establishing its rights hereunder, including without
limitation, court costs, expert fees, and reasonable attorneys’ fees.

          23.       Time is of the essence of this Guaranty.

Notwithstanding anything to the contrary contained in the Ground Lease, this Guaranty or any other
document executed in connection therewith, Guarantor agrees that Landlord’s direct and indirect lenders
(and any person or entity acting as agent with respect thereto) and their respective successors and/or assigns
(collectively, “Lender”) are each third-party beneficiaries of this Guaranty and so long as the applicable
loan is outstanding: (i) this Guaranty may not be amended, modified, supplemented, terminated,
surrendered, or cancelled without Lender’s prior written consent; and (ii) Lender shall have the right to
enforce the terms and conditions of the Guaranty.

                             [SIGNATURES APPEAR ON FOLLOWING PAGES]




Guaranty
Broadway South Hospital
#171277792
         IN WITNESS WHEREOF, Guarantors have executed this Guaranty as of the date set forth
above.

GUARANTORS:

SA HOSPITAL ACQUISITIONS GROUP, LLC,
a Delaware limited liability company



By:
         Law~n
              ~
         Co- anager




By: - - - - - - - -- - -- - - -
    Jeffrey Ahlholm, an individual and
    resident of the State of California


By: ~~'7L-::~- - - - - - - - - -
           nce Feigen, an individual and
     r 1dent of the State of California




Guaranty
Broadway South Hospital
#171277792
            l ' , l f t F . _ \\ HEREOF, Guarantors have executed this Guaranty as of the date set forth




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.i   bware limitoo li:ibility company




            Luwren Feigen
             o- tanager




                     olm. an individual and
       resident of the rate of California



        Lawrence Feigen, an individual and
       resident of the tate of California




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 Broad\\'3) Soulh Hospttal
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                                                                                     Invoice Number: 2023-4.2
DATE:            4/6/2023

TO:              Broadway South City Hospital


FROM:            Andrea Ferguson
                 2200 Washington Avenue
                 St. Louis, MO 63103
                 Phone: 314-300-4214
                 andrea.ferguson@TwainFinancial.com

RE:              Broadway South City Hospital Ground Lease



   Due Date               Rent Period                        Description                      Amount

   1/1/2023          1/1/2023 - 3/31/2023          Q1.23 Base/Supplemental Rent         $       354,842.07
   1/12/2023         1/1/2023 - 3/31/2023                    Late Charge                $        21,290.52
   4/1/2023          1/12/2023 - 3/31/2023        Additional Rent through 4/1/2023      $        11,904.51
   4/7/2023           4/1/2023 - 4/7/2023         Additional Rent through 4/7/2023      $         1,172.08
   4/1/2023          4/1/2023 - 6/30/2023          Q2.23 Base/Supplemental Rent         $       358,784.77

                                                                 Total payment due: $           747,993.95


Wire Payments to:
Bank Name:     U.S. Bank National Association
ABA Number:    091000022
Account Name: Structured Finance Wire Clearing
Account:       173103322058
Reference:     Twain Funding II LLC Collection Acct 273761000


*Add additional rent if no payment is received by:                                                 4/1/2023
Per diem additional rent (should be added for each additional day)                      $           167.44

*If Rent is not received by 4/11/2023, an additional late charge will be assessed along with a new per diem
